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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )                 4:14CR3138
                                      )
           v.                         )
                                      )
ANDREW JOSE ESPINOZA,                 )                   ORDER
                                      )
                 Defendant.           )
                                      )


      IT IS ORDERED that Andrew Jose Espinoza may appeal in forma pauperis,
although no certificate of appealability will be issued.

     DATED this 30th day of November, 2016.

                                     BY THE COURT:

                                     s/ Richard G. Kopf
                                     Senior United States District Judge
